Case 2:04-cv-02426-BBD-dkv Document 50 Filed 07/29/05 Page 1 of 2 Page|D 46

F“F='D HY%:..._ o.c.
UNITED sm TES ms TRICT comer
WESTERN DISTRICT OF TENNESSEEU5 JUL 29 PH l+: lag
WESTERN DIVISIoN mM
CLEH<, u.S. ;:)J§Wc’§m

 

 

EQUAL EMPLOYMENT OPPORTUNITY JUDGMENT.IN A CIVIL CASE
COMMISSION

v.

AJAY THEATERS, LLC CASE NO: 04-2426-D

d/b/l HOLLYWOOD 20 CINEMA

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Decree entered on July 7, 2005, this cause is hereby diemissed.

Ho."SM_GOU\.D

   

 

Clerk of

 
 

Th|s document entered on the docket sh
with Ru|e 56 and/or 79(a) FRCP on

 

August 2, 2005 to the parties listed.

D1STR1T COURT - ESTNER 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CV-02426 Was distributed by faX, mail, or direct printing on

 

Adam 1\/1. Nahmias

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

1\/1emphis7 TN 38018

Faye A. Williams

EQUAL E1\/[PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Katharine W. Kores

EQUAL E1\/[PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

.1 ames L. Holt

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

1\/1emphis7 TN 38018

Valerie B. Speakman
JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.
1\/1emphis7 TN 38018

Carson L. OWen

EQUAL E1\/[PLOY1\/[ENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/1emphis7 TN 38104

Honorable Bernice Donald
US DISTRICT COURT

